      Case 05-32711-RG            Doc 7      Filed 11/09/05 Entered 11/09/05 14:25:24                   Desc 177
                                                     Page 1 of 1
Form 177 − fnldec

                                    UNITED STATES BANKRUPTCY COURT


District of New Jersey
MLK Jr Federal Building
50 Walnut Street
Newark, NJ 07102

                                          Case No.: 05−32711−RG
                                          Chapter: 7
                                          Judge: Rosemary Gambardella

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Charles Secolsky
   151 US Highway 46
   Netcong, NJ 07857
Social Security No.:
   xxx−xx−6687
Employer's Tax I.D. No.:


                                                    FINAL DECREE



       The estate of the above named debtor(s) has been fully administered.

       If this case is a Chapter 11 or 13, the deposit required by the plan will be distributed, and it is

       ORDERED that Catherine E. Youngman is discharged as trustee of the estate of the above named
debtor(s) and the bond is canceled; and the case of the above named debtor(s) is closed .


Dated: November 9, 2005                           Rosemary Gambardella
                                                  Judge, United States Bankruptcy Court
